
PER CURIAM.
Affirmed. See Card v. State, 927 So.2d 200, 203 (Fla. 5th DCA 2006) (holding that, in a prosecution for driving while license revoked as a habitual traffic offender, a certified copy of the defendant’s driving record is not testimonial hearsay and thus the record’s admission did not implicate the defendant’s Sixth Amendment right to confrontation under Crawford v. Washington, 541 U.S. 36, 124 S.Ct. 1354, 158 L.Ed.2d 177 (2004)); Sproule v. State, 927 So.2d 46, 47 (Fla. 4th DCA 2006) (same).
ALTENBERND, SALCINES, and SILBERMAN, JJ., Concur.
